 Case 1:21-cv-01333-CFC Document 25 Filed 12/20/21 Page 1 of 3 PageID #: 421




              IN THE UNITED STATES DISTRICT COURT FOR
                     THE DISTRICT OF DELAWARE

AMEERA SHAHEED and                            )
EARL DICKERSON,                               )
                                              )
              Plaintiffs,                     )
                                              )
        v.                                    )     C.A. No. 1:21-cv-01333 CFC
                                              )
CITY OF WILMINGTON,                           )
FIRST STATE TOWING, LLC and                   )
CITY TOWING SERVICES, LLC,                    )
                                              )
              Defendants.                     )


   DEFENDANT CITY OF WILMINGTON’S ANSWER TO DEFENDANT
         CITY TOWING SERVICES, LLC’S CROSS-CLAIM

        Defendant City of Wilmington, by and through undersigned counsel,

answers the Crossclaims filed against the City of Wilmington by Defendant City

Towing Services, LLC, as follows:

      CROSSCLAIM AGAINST DEFENDANT CITY OF WILMINGTON

        235.- 247. The City has filed a Motion to Dismiss this Crossclaim.

                      CROSSCLAIM FOR CONTRIBUTION

        248. Denied that City Towing Services, LLC is entitled to contribution.

                   CROSSCLAIM FOR INDEMMIFICATION

        249. Denied.

W0116110.
 Case 1:21-cv-01333-CFC Document 25 Filed 12/20/21 Page 2 of 3 PageID #: 422




                                     DEFENSES

                        FIRST AFFIRMATIVE DEFENSE

        1.    Defendant City Towing Services, LLC fails to state a claim upon

which relief may be granted.

                       SECOND AFFIRMATIVE DEFENSE

        2.    Defendant City of Wilmington is immune from suit pursuant to 10

Del. C. § 4011.

                        THIRD AFFIRMATIVE DEFENSE

        3.    Damages, if any, are limited pursuant to 10 Del. C. §4013.

                       FOURTH AFFIRMATIVE DEFNSE

        4. Defendant reserves the right to add, amend, clarify, or modify its defenses

and answers to conform to such facts as may be revealed through discovery or

otherwise.

        WHEREFORE, the City of Wilmington moves that Defendant City Towing

Services, LLC’s Crossclaims be dismissed with prejudice and that costs and such




W0116110.
 Case 1:21-cv-01333-CFC Document 25 Filed 12/20/21 Page 3 of 3 PageID #: 423




other relief as the Court deems appropriate be assessed against City Towing

Services, LLC.




                                   CITY OF WILMINGTON LAW DEPT.

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Dated: December 20, 2021




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